Case 3:24-cv-00777-B-BK Document15 Filed 04/15/24 Page1ofi PagelD 119

¢ ; Gl KA IN THE UNITED STATES NORTHERN DISTRICT COURT
& &

DALLAS DIVISION AND KAUFMAN COUNTY TEXAS

Ch

Abor et al and CL Abor and Micheala Abor §
§
Plaintiff, §

VS. § CAUSE NO. 3:24-cv-00777-B
§
Auction.com IIc §
Defendant. §

AFFIDAVIT OF SERVICE

"The following came to hand on Apr 10, 2024, 12:00 pm,
Summons, Complaint

and was executed at 211 East 7th Street Ste. 620, Austin, TX 78701 within the county of Travis at 02:30 PM on Wed, Apr
10 2024, by delivering a true copy to the within named

AUCTION.COM LLC
by serving its registered agent Corporation Service Company accepted by authorized agent Kaneisha Gross

in person, having first endorsed the date of delivery on same.

| am a person over eighteen (18) years of age and | am competent to make this affidavit. | am a resident of the State of
Texas. | am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. 1am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. | have never been
convicted of a felony or of a misdemeanor involving moral turpitude. | have personal knowledge of the facts stated
herein and they are true and correct."

My name is Corin Johnson, my date of birth is 2/5/1983, and my address is 500 E. 4th St. #143, Austin, TX 78701 , and
United States of America. | declare under penalty of perjury that the foregoing is true and correct.

Executed in Travis County, State of TX, on April 10, 2024.

A

Corin Johnson
Certification Number: PSC-5625
Certification Expiration: 9/30/2024
